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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK


 I.INITED STATES OF AMERICA,
                                                           NOTICE OF APPEARANCE

         -against-
                                                           Case Numb       er   1   :21 -cr-001 93
  RICHARD DALE STERRITT, JR, et. al.,

                Defendant.



         PLEASE TAKE NOTICE that the undersigned counsel of Tacopina Seigel & DeOreo
  does hereby enter his appearance on behalf of James Christopher Pittman, as attorney of record

  in the above-referenced matter.
                                                            fully submitted,




                                                              TACOPINA, ESQ.
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